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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAGI GENGER, Civ. No.: 14-5683 (KBF)
Plaintiff,
- against -

ORLY GENGER,

Defendant.

 

 

ORLY GENGER’S MEMORANDUM OF LAW IN SUPPORT OF HER MOTION
FOR SUMMARY JUDGMENT DISMISSING ALL CLAIMS AGAINST HER
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56

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PRELIMINARY STATEMENT

 

For years, Sagi Genger (“Sagi”) and Dalia Genger (‘Dalia’) having been doing
whatever they can to pauperize Orly Genger (“Orly”), Sagi’s younger sister. This lawsuit,
however, is a particularly distasteful attempt. Sagi contends Orly must now pay him half of any
monies demanded by Dalia, because Orly’s 1993 Trust (“Orly Trust”) “received” and “benefited
from” certain Trans-Resources, Inc. (“TRI”) shares that TPR Investments Associates, Inc.
(“TPR”) gave the Orly Trust at the time Dalia and Arie Genger (“Arie”) divorced. For years,
however, Sagi (with Dalia’s support) has taken the exact opposite position. Sagi has consistently
argued — to this Court, to the New York State Courts, and to the Delaware Courts — that any
purported TRI share transfer from TPR to the Orly Trust was ineffective, that the Orly Trust
never received any shares, and that TPR (which is controlled by Sagi) continued to own those

shares.

Sagi’s efforts have been successful for him (and a nightmare for Orly). It is now
established, including in a recent decision by Judge Keenan, that TPR owned all rights to the TRI
Shares at issue, until TPR chose to sell them for $10.3 million in August 2008. It is TPR (Le.,
Sagi) that has that $10.3 million, by Order of this Court. Orly and the Orly Trust have none of

the shares, and none of the proceeds.

Apparently, this is not enough for Sagi. Having obtained $10.3 million by
arguing that the Orly Trust never received those shares, he now argues that the Orly Trust’s
receipt of those same shares is “consideration” requiring Orly to indemnify Sagi. Thankfully, the
undisputed facts show that Sagi’s latest machination is legally flawed, and that his complaint

should be dismissed on summary judgment for several independent reasons.
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Sagi’s claim for breach of contract is factually and legally flawed because Orly’s
purported November 10, 2004 agreement to indemnify Sagi (the “November Document”) lacks
consideration. Sagi contends the November Document is supported by two kinds of
consideration: (i) the Orly Trust’s (and Sagi Trust’s) receipt of certain shares in Trans-Resources,
Inc. (the “TRI Shares”) as part of the Divorce Stipulation (defined below), and (ii) love,
affection, and the end to parental strife. Operative Compl. § 8 (Leinbach Decl., Ex. 1). Sagi is

twice wrong.

As to the TRI Shares, Sagi is judicially estopped from claiming they were
transferred to either trust. As to the Divorce, any attempt to claim it as consideration falls under
the plain language of the Divorce Stipulation between Arie and Dalia. At the time Dalia signed
the Divorce Stipulation — which is binding on Dalia and her heirs “IN ALL
CIRCUMSTANCES” “as of October 26, 2004” — she knew two things: (i) the Divorce
Stipulation had an “Entire Understanding” provision which foreclosed any reliance on oral
promises, and (ii) that the only written promise of support was exclusively Sagi’s. Indeed, a
“promise” document expressly binding both Sagi and Orly was drafted, but never signed.
Accordingly, neither Dalia nor Sagi can reasonably claim that an Orly promise to pay was a
condition of the divorce. Clinching the matter, it is settled that love and affection (especially
between a child and a parent) does not constitute consideration as a matter of New York law.
See Argument, Points II and III. In addition, under well-settled law, Sagi is barred from seeking
indemnification because he failed to provide Orly with notice and an opportunity to defend

before paying Dalia. See Argument, Point V.

Sagi’s breach of contract claim and promissory estoppel claims also fail based on

a mutual mistake of fact. Any agreement reached in 2004 was premised on the Genger family
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belief that Orly and Sagi were being treated equally in the divorce, with each one getting
equivalent amounts of TRI shares. By the time of Dalia’s “demand” in 2014, the transfers had

been determined to be void ab initio, with Sagi (via TPR) obtaining all the value — and Orly

 

none. Given this, the November Document is subject to rescission and unenforceable by Sagi.

See Argument, Point IV.

Sagi’s promissory estoppel claim also fails because it requires reasonable and
justifiable reliance upon a promise. Here, Sagi could not possibly have reasonably relied on
Orly’s supposed 2004 promise when he paid Dalia in 2014 given his (and Dalia’s) past actions
and prior court rulings. Nor, given Sagi’s unclean hands, is he entitled to any equitable relief.

See Argument, Point VI.

For each and every one of these reasons, Orly’s motion for summary judgment

should be granted, and Sagi’s complaint dismissed in its entirety.

STATEMENT OF MATERIAL UNDISPUTED FACTS

The facts supporting summary judgment are set forth in the accompanying

Statement of Material Undisputed Facts, incorporated herein by reference.

ARGUMENT

I. THE LEGAL STANDARD ON SUMMARY JUDGMENT

A motion for summary judgment should be granted “if the movant shows that
there is no genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law.” Fed. R. Civ. P. 56(a); Giuffre Hyundai, Ltd. v. Hyundai Motor Am., 756 F.3d

204, 208 (2d Cir. 2014) (same). “By its very terms, this standard provides that the mere
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existence of some alleged factual dispute between the parties will not defeat an otherwise
properly supported motion for summary judgment; the requirement is that there be no genuine
issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-248 (1986) (italics
emphases in original). In this regard:

the mere existence of a scintilla of evidence in support of the

plaintiff's position will be insufficient; there must be evidence on

which the jury could reasonably find for the plaintiff. To defeat

summary judgment, therefore, nonmoving parties must do more

than simply show that there is some metaphysical doubt as to the

material facts, and they may not rely on conclusory allegations or

unsubstantiated speculation. At the summary judgment stage, a

nonmoving party must offer some hard evidence showing that its
version of the events is not wholly fanciful.

Jeffreys v. City of New York, 426 F.3d 549, 554 (2d Cir. 2005) (quotes and citations omitted)

(underlined emphasis added) (italics emphasis in original).

Here, as set forth below, Sagi’s breach of contract and promissory estoppel claims
fail as a matter of law and undisputed material fact. As a result, Orly’s motion for summary

judgment, dismissing Sagi’s Operative Complaint, should be granted.

Il. SUMMARY JUDGMENT SHOULD BE GRANTED IN
ORLY’S FAVOR BECAUSE THE NOVEMBER DOCUMENT
IS NOT SUPPORTED BY CONSIDERATION

“All contracts must be supported by consideration.” Beitner v. Becker, 34 A.D.3d
406, 407 (2d Dept. 2006). As a matter of law, consideration is bargained-for; it is a thing of
value “received from a promisor to a promisee.” Black’s Law Dictionary (2000) at 245; United
States v. Hardwick, 523 F.3d 94, 100 (2d Cir. 2008) (‘“[C]onsideration retains its contract law

meaning of a bargained for exchange.”’) (citation omitted); Von Bing v. Mangione, 309 A.D.2d
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1038, 1040 (3d Dept. 2003) (“[C]onsideration ‘consists of either a benefit to the promisor or a
detriment to the promisee’ ... which has been bargained for by the parties to the contract.”)
(citations omitted). Here, the record before the Court clearly establishes that there is no valid

consideration for either of the two documents upon which Sagi relies.

The November Document does not identify any consideration between Orly and
Sagi. November Document (Operative Compl., Ex. B) (Leinbach Decl., Ex. 1). Sagi attempts to
correct this flaw by alleging in the Operative Complaint that both the November Document and
Sagi Promise Document were supported by the following consideration: (i) Orly’s “receipt of

be

those [TRI] shares”; and (ii) “other valuable consideration.” Operative Complaint {[ 8; see also
Sagi Br. at 16 [Docket No. 16] (“In consideration for Orly’s promise to reimburse Sagi for 50%
of monies paid to Dalia under the Oct. 30, 2004 Promise, Orly received an economic benefit
from her mother’s marital rights in the TRI shares. Orly also received an emotional and

psychological benefit in helping to bring about an end [sic] her parents’ bitter divorce battle.”)

Sagi’s attempt to create consideration where none exists fails for several reasons.

First, the November Document is between Sagi and Orly. November Document
(Leinbach Decl., Ex. 1). As set forth above, Sagi does not even allege he provided any
consideration of any kind to Orly for the November Document. The shares were not Sagi’s

shares. The divorce was not Sagi’s divorce. Thus, there is no consideration between them.

Second, Orly’s receipt of TRI shares cannot serve as consideration for the
November Document (or the October 30, 2004 Sagi Promise Document) because Sagi has
repeatedly acted, and argued to the courts including this one, that neither Orly nor the Orly Trust

ever received any TRI shares. Having done so, Sagi cannot now argue that Orly or the Orly
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Trust “received” TRI shares. See ICN Pharmaceuticals, Inc. v. Bristol-Myers Co., 245 A.D.2d

 

182, 186 (1st Dept. 1997); Madeira v. United Talmudical Acad. of Kiryas Yoel, 351 F.Supp.2d

 

162 (S.D.N.Y. 2004) (dismissing complaint on summary judgment, and holding plaintiff was
judicially estopped from alleging the landowner owned the property for purposes of establishing
liability, as plaintiff had previously stipulated in a judicial proceeding that the developer owned

the property).

On August 22, 2008, TPR (controlled by Sagi) entered into the Side Letter
Agreement, which purported to sell the Orly Trust’s TRI shares to the Trump Group. Side Letter
Agreement (Leinbach Decl., Ex. 35). Then in July and August 2010, the Delaware Chancery

Court ruled that the TRI Share transfer to the Orly Trust was void ab initio and, as a result, the

 

Orly Trust TRI Shares had reverted to TPR. See TR Investors, LLC v. Genger, 2010 WL
2901704, *1, *19 (Del. Ch. July 23, 2010); TR Investors, LLC v. Genger, 2010 WL 3279385, *3
(Del. Ch. August 9, 2010). Sagi provided testimony in the Delaware Chancery Court case
supporting TPR’s position that the transfer of shares to the Orly Trust was void and the shares

belonged to TPR to sell. See TR Investors, LLC v. Genger, 2010 WL 2901704.

Having obtained a ruling that TPR (controlled by Sagi) owned the TRI Shares that
were meant to be transferred to the Orly Trust, TPR has argued to numerous courts, from as far
back as August 2010, that TPR — and not the Orly Trust — was the owner of those TRI shares:

Orly Genger does not have standing to sue in connection with the

TRI shares because Vice Chancellor Strine of the Chancery Court

of the State of Delaware has recently ruled that the shares at issue

belong to TPR Investment Associates, Inc., not the Orly Genger
1993 Trust.

Sagi 8/25/10 Answer, First Affirmative Defense (Leinbach Decl., Ex. 5).
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In August 2013, Sagi (for TPR) and Dalia (for the Orly Trust) entered into a “So-

Ordered” Delaware Stipulation stipulating that

the [2004 Divorce Stipulation] transfers were void and the stock
reverted to TPR, and ... the Trump Group had the right to buy all
of the improperly transferred Trans-Resources stock from TPR.
These determinations and findings were essential to the [Delaware
Chancery] Court’s determinations and findings in the 3994 Action.

So-Ordered Delaware Stipulation at 1-2 (Leinbach Decl., Ex. 44).

In November 2013, TPR (controlled by Sagi) commenced an action in this Court
(Keenan, J.) contending that, based on the So-Ordered Delaware Stipulation, there were now no
remaining factual issues - TPR owned the TRI shares that were supposed to have been
transferred to Orly and, as a result, it was entitled to the proceeds of the sale of those Orly Trust

TRI Shares:

TPR’s claim could not be more straightforward. TPR once owned
1,102.8 shares of TRI. TPR sold those shares for $10.3 million.
The courts have now confirmed that TPR owned and had the right
to sell those TRI shares, which this Court previously held to be the
“condition precedent” to disbursing the sale proceeds to TPR. In
short, everything which could be litigated has now been litigated,
and so the time has come for the escrow agent to pay TPR.

TPR Reply Brief at 1 (Leinbach Decl., Ex. 47). At oral argument on TPR’s motion for summary
judgment, TPR counsel John Dellaportas reiterated that the Orly Trust shares had never belonged

to the Orly Trust, but instead, were TPR’s property:

They also said that Chancellor Strine’s ruling, paragraph 2, speaks
only as the buyer and not the seller. Absolutely incorrect. What
Chancellor Strine ruled in paragraph 2 was, “The Trump Group,
having closed on the purchase of the so-called Orly Trust shares”
-- here’s the important part -- “pursuant to and under the terms of
the side letter agreement between TPR and the Trump Group.”
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That’s the ruling. The side letter agreement is in the record.
That’s a contract whereby we [TPR] sold those shares to them.
Exactly the ruling your Honor said we [TPR] needed to get in
order to get our proceeds.

We’ve gotten the ruling that the Court asked us to get. We [TPR]
would now like our proceeds. Thank you very much, your Honor.

4/29/14 Hearing Tr. at 34:3-16 (TPR Counsel Dellaportas) (Leinbach Decl., Ex. 48). At that
same oral argument, Dalia counsel stated: “We [Dalia] don’t object if this Court would direct

the escrow[ed millions] be given to TPR.” Id. at 13.

Importantly, before Judge Keenan, TPR drew a sharp distinction between money
damage claims and money paid for the shares. TPR Moving Brief at 3 (“That is not to say Orly
loses her day in Court .... Orly remains free to pursue her money damages, such as they are, in

the New York Supreme Court.”).

Based on TPR/Sagi and Dalia’s arguments, this Court (Keenan, J.) found that
TPR was “entitled to the Proceeds it received from the Trump Group in consideration of those
{Orly Trust] shares.” See TPR Investment Associates v. Pedowitz & Meister LLP, 2014 U.S.
Dist. LEXIS 67116, *15 (S.D.N.Y. May 15, 2014) (emphasis added); id. at *17 (“Because the
Trump Group is now the undisputed owner of the Orly Trust Shares, TPR is entitled to the
Proceeds paid by the Trump Group for those shares.”). That same day, TPR was wired the $10.3

million in proceeds. (Leinbach Decl., Ex. 50). Sagi and Dalia cannot have it both ways. Having

 

In July 2010, Orly and Arie commenced a New York state court action seeking, among other things, causes of
action for money damages and equitable claims arising from Sagi and TPR’s sale of the TRI shares at issue. By
Decision and Order dated July 24, 2014, the New York Supreme Court, Appellate Division, reversed the trial
court’s decision, in part, dismissing Orly and the Orly Trust’s claims for unjust enrichment and breach of
fiduciary duty against TPR and Sagi. Orly and Arie have moved for reargument of the Appellate Division’s July
24, 2014 Decision and Order or for leave to appeal the decision to the New York Court of Appeals. Orly and
Arie’s motions are currently sub judice before the Appellate Division.
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successfully claimed in other courts (Delaware Chancery Court, New York Supreme Court, and
this Court) that the TRI Shares are not, and have never been, an actual asset of the Orly Trust, it

cannot properly claim that Orly “received” shares of TRI.

The doctrine of judicial estoppel or estoppel against contrary statements,
“precludes a party from framing his pleadings in a manner inconsistent with a position taken in a
prior judicial proceeding.” Kimco of New York, Inc. v. Devon, 163 A.D.2d 573, 574 (2d Dept.
1990) (barring defendant under the doctrine of inconsistent positions from claiming that an
option contract was invalid after petitioning the Surrogate’s Court to allow defendant to buy
property by exercising the option in a prior proceeding); ICN Pharmaceuticals, Inc. v. Bristol-
Myers Co., 245 A.D.2d 182, 186 (1st Dept. 1997) (holding that defendant was bound by the
doctrine of judicial estoppel from taking a position before the New York County Supreme Court

that was inconstant from a position taken in a prior arbitration); General Electric Co. v. Inter-

 

America Marketing Systems, Inc., 220 A.D.2d 307 (1st Dept. 1995) (“The IAS Court properly

 

invoked the doctrine of judicial estoppel to preclude those counterclaims...since defendant
successfully advanced the diametrically opposite position at the trial of plaintiff's claims.”);
Vasquez v. Herald Association Inc., 186 A.D.2d 467, 469 (1st Dept. 1992) (“the IAS court
correctly estopped [the party from taking a position that] was diametrically opposite to that taken
in earlier litigation.”); Madeira, 351 F.Supp.2d 162 (dismissing complaint on summary
judgment, and holding plaintiff was judicially estopped from alleging the landowner owned the
property for purposes of establishing liability, as plaintiff had previously stipulated in a judicial

proceeding that the developer owned the property).

As detailed above, Sagi has repeatedly and successfully argued that the transfer of

TRI shares was void ab initio and, as a result, the TRI shares at issue belonged to TPR. Indeed,
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Sagi even argued to this Court that Orly could not challenge the fact that TPR owned the TRI

shares at issue, because it had already been decided:

Accordingly, TPR requires an Order from this Court compelling
the escrow agent, defendant Pedowitz & Meister, to release the
[$10.3 million in proceeds from the sale of the Orly Trust TRI
shares] to it. TPR seeks no other relief in this case. As these
matters have already been fully litigated, application of basic
principles of full faith and credit, res judicata, collateral estoppel,
and judicial estoppel all ought to prevent their relitigation in this or
other forums.

TPR Moving Brief at 3 (Leinbach Decl., Ex. 46). This Court should take Sagi at his word.
Because the Orly and Sagi Trusts never received any TRI Shares, those shares cannot be

“consideration” for the Sagi Promise Document or November Document.

Third, even if Sagi could properly “take it all back” (he cannot), the Orly Trust
TRI Shares could not serve as consideration because they already had been transferred before the
November Document was executed. The November Document was not created or executed until
after the Divorce Stipulation was signed “as of October 26, 2004.” See Parnes Aff. § 8
(Leinbach Decl., Ex. 53). By November 10, 2004, the contemplated transfer of Orly Trust TRI
Shares was already a legal fait accompli. In this regard, the Divorce Stipulation fully set out the
transfer of the TRI Shares to the Orly and Sagi Trusts, including the fact that “following the
foregoing transfers of the TRI Stock, [Dalia] will have no ownership interest in TRI.” Divorce

Stipulation, Art. I1(9) (Leinbach Decl., Ex. 12).

Moreover, in entering into the Divorce Stipulation “as of October 26, 2004,”
Dalia expressly agreed that “SHE UNDERSTANDS THAT THIS AGREEMENT WILL BE

BINDING ON ... HER IN ALL CIRCUMSTANCES.” Divorce Stipulation at p. 56 (all caps in

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original). Equally bound were Dalia’s heirs, Sagi and Orly. Id. at p.51. As the contemplated
transfer of the TRI Shares to the Orly Trust had already occurred and was legally binding “IN
ALL CIRCUMSTANCES?” it cannot be consideration for Orly’s purported acceptance of an

indemnification obligation on November 10, 2004.

Nor can Sagi’s convenient claim that Orly orally agreed to indemnify Dalia on
October 30, 2004 survive legal scrutiny in light of the “Entire Understanding” Clause in the

Divorce Stipulation. In the Divorce Stipulation, Dalia agreed that:

ENTIRE UNDERSTANDING

This Agreement contains the entire understanding of the parties
who hereby acknowledge that between them there have been and
are no representations, warranties, covenants or undertakings
(whether written or oral, express or implied) with respect to the
subject matter hereof including, without limitation, all rights or
claims arising at law, in equity or pursuant to the parties’ marital
relationship other than those expressly set forth herein or in the
transaction contemplated hereby or entered into concurrently
herewith.

Divorce Stipulation, p. 53 (Leinbach Decl. Ex. 12). Thus, on October 30, 2004, when she signed
the Divorce Stipulation, Dalia knew that there was no “clawback” right within it, and that Orly
had signed no agreement concurrently with the Divorce Stipulation. Yet, knowing all this, Dalia
signed the Divorce Stipulation and accepted its Entire Agreement clause. Having done so, Dalia
is legally precluded from claiming that Orly’s indemnification was part of the consideration for

her divorce.

Fourth, the November Document is not supported by “other valuable
consideration.” Complaint § 8. In his prior iteration of the Complaint, Sagi claimed the “other

consideration” referenced was “most particularly their strong desire to bring an end to their

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parent’s bitter divorce case.” Prior Complaint 7 8 [Case No. 14-1006, Docket No. 2]. However,
Orly’s desire to end the divorce could not serve as consideration because by November 2004, the
Divorce Stipulation — the document that actually “resolve[d] and settle[d] all issues in that
[divorce] action” (Divorce Stipulation at p. 1) — already had been signed by Arie and Dalia, and
was binding upon them. Id. at p. 56 (Leinbach Decl., Ex. 12). It was this Divorce Stipulation
that (i) constituted the “Entire Agreement” ending the divorce action; (ii) received the Court’s

approval; and (iii) led to the end of the parents’ divorce case.

Further, it is well-settled New York law that love and affection (or the “emotional
and psychological benefit” derived there from) does not constitute consideration. “Services that
are usually rendered by family members...out of love and affection, or without expectation of
compensation, are presumed to have been rendered gratuitously and do not constitute
consideration...unless the presumption is overcome by convincing proof...to pay for specified

services that were performed in exchange for the promise.” In re Estate of Concetta Ciadiello,

 

2007 N.Y. Misc. LEXIS 2326, *6 (N.Y. Sur. Ct. 2007); McRay v. Citrin, 270 A.D.2d 191, 191
(ist Dept. 2000) (where “[t]he sole consideration given to support defendant’s promise to pay
plaintiff a yearly sum of money [was] plaintiff's promise of ‘love and affection’” this “did not
suffice as a predicate for enforcement of the executory agreement.”’); Rose v. Elias, 177 A.D.2d
415, 416 (1st Dept. 1991) (affirming trial court’s ruling that love and affection are insufficient
consideration); In re Estate of Camac, 2 Misc.3d 894, 898 (N.Y. Sur. Ct. 2004) (“‘[l]ove and
affection’ (especially between a child and a parent) do not constitute consideration” (citation
omitted)); see also Pershall v. Elliott, 249 N.Y. 183, 188 (1928) (“[a] previous moral obligation
is insufficient as a consideration to support an action to enforce an executory contract’) (citation

omitted).

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For each and every one of these independent reasons, the November Document is
not supported by valid consideration and, as a result, Sagi’s breach of contract claim should be

dismissed.

Il. SUMMARY JUDGMENT SHOULD BE GRANTED IN
ORLY’S FAVOR BECAUSE THE NOVEMBER DOCUMENT
AND THE DIVORCE STIPULATION ARE NOT “INTEGRATED”

Sagi also contends that the Sagi Promise Document and November Document
have consideration because they are “interrelated” with the Divorce Stipulation. (Sagi Opp. Br. at
17 [Docket No. 16]). The record before the Court shows this claim to be unreasonable and

unavailing.

When separate contracts form a single integrated transaction, they have certain
indicia. For example: (i) the agreements reference one another; (ii) the agreements are executed
by the same parties; (iii) the agreements are executed for the same purpose; and (iv) the
agreements are executed contemporaneously. See Commander Oil Corp. v. Advance Food
Service Equip., 991 F.2d 49, 53 (2d Cir. 1993); Carvel Corp. v. Diversified Management Group,
Inc., 930 F.2d 228, 233 (2d Cir. 1990) (‘instruments executed at the same time, by the same
parties, for the same purpose and in the course of the same transaction will be read and
interpreted together.”); BWA Corp. v. Alltrans Exp. U.S.A., Inc., 112 A.D.2d 850, 852 (1st Dept.
1985) (same). Further, courts may only treat separate agreements as part of a single integrated
transaction “in the absence of anything to indicate a contrary intention.” BWA Corp., 112
A.D.2d at 852; Big East Entertainment, Inc. v. Zomba Enterprises, Inc., 453 F. Supp.2d 788, 799
(S.D.N.Y. 2006) (two agreements not found to be interrelated because two agreements were not

executed by the same parties and each agreement had a separate purpose; granting summary

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judgment dismissing complaint); Nobel Insurance Co. v. Hudson Iron Works, Inc., 51 F. Supp.2d
408, 413 (S.D.N.Y. 1999); documents do not form interrelated transaction where certain
documents are “at best, inconclusive, unexecuted, one-sided documents to markedly alter the
terms and plain meaning of’ other agreements; granting summary judgment dismissing
complaint); Republic Insurance Co. v. Nobel Insurance Co., 2 F. Supp.2d 548, 548 (S.D.N.Y.
1998) (documents do not form interrelated transaction where “ the plain and unambiguous terms
of an executed contract is to be drastically altered by reference to letters that that do not even

qualify as contracts in the own right”; granting summary judgment dismissing complaint).

Here, the November Document and Divorce Stipulation have none of the indicia
of an interrelated transaction. First, the parties to the Divorce Stipulation (Dalia and Arie) and
the November Document (Sagi and Orly) are completely different. Divorce Stipulation, p. 56;

November Document (Leinbach Decl., Exs. 12, 1).

Second, the Divorce Stipulation and November Document were not executed
contemporaneously. Indeed, it is undisputed that the November Document Sagi seeks to enforce
did not even exist when the Divorce Stipulation was signed on October 30, 2004. Parnes Aff.

{ 8; Divorce Stipulation, p. 56 (Leinbach Decl., Exs. 53, 12).

Third, the Divorce Stipulation makes no reference to the November Document (or
the Sagi Promise Document) or any “clawback” right. Divorce Stipulation (Leinbach Decl.,
Ex. 12). Nor does the Sagi Promise Document reference the November Document or any
obligation of any kind by Orly. Sagi Promise Document (Operative Compl., Ex. A) (Leinbach

Deni. Ex. 1):

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Fourth, the Divorce Stipulation and November Document’s serve fundamentally
different purposes. The Divorce Stipulation addresses the division of property associated with
Arie and Dalia’s divorce. Divorce Stipulation (Leinbach Decl., Ex. 12). Conversely, the
November Document purports to require Orly (not a party to the Divorce Stipulation) to
reimburse Sagi (not a party to the Divorce Stipulation) for future payments made to Dalia, but

not Arie. November Document (Leinbach Decl., Ex. 1).

Fifth, the record “indicate[s] a contrary intention.” Specifically, the plain and
unambiguous terms of the Divorce Stipulation makes Sagi’s contention that the November
Document is integrated with the Divorce Stipulation entirely unreasonable. See Jeffreys, 426
F.3d at 554 (factfinder must be able to “reasonably find for plaintiff’ for claim to survive
summary judgment). Indeed, “the plain and unambiguous terms of” the Divorce Stipulation
would “be drastically altered by reference to” the November Document. Nobel Insurance Co.,

51 F. Supp.2d at 413.

Integration of the November Document is expressly prohibited by the “ENTIRE
UNDERSTANDING?” clause of the Divorce Stipulation, because the November Document is not
“expressly referenced,” was not “expressly contemplated by,” and was not “entered concurrently
with” the Divorce Stipulation. Divorce Stipulation, p. 53 (Leinbach Decl., Ex. 12). Any alleged
oral promise that Orly and Sagi would provide for Dalia’s living expenses from the proceeds of
the TRI shares they received is both contrary to the “ENTIRE UNDERSTANDING” clause, as
well as and Dalia’s express representation to Arie in the Divorce Stipulation that, after the
transfer of TRI shares to Arie and the two Trusts, Dalia would have no further interest in TRI.
Id., p. 14 (Leinbach Decl., Ex. 12). Moreover, the provision that makes the Divorce Stipulation

“BINDING UNDER ALL CIRCUMSTANCES” as of October 26, 2004 forecloses and makes

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unreasonable any contention that the November Document was a necessary or integrated part of

the Divorce Stipulation. Id., p. 56 (Leinbach Decl., Ex. 12).

Neither Sagi nor Dalia produced any draft of the Divorce Stipulation that included
a Dalia Clawback. Nor did they produce contemporaneous documentary evidence that Arie
agreed to either the November Document, or to any agreement that Orly would provide for
Dalia’s living expenses. See Statement of Undisputed Material Facts at §§ 15-20, 55-59.
Likewise, when Sagi and Orly jointly subpoenaed Arie’s former divorce attorneys at Dentons to
search its internal electronic files for emails between Arie’s attorney, Sagi, Orly or Dalia attorney
Carol Schepp, the resulting search did not yield a single email between Sagi and Arie concerning
the November Document or a Dalia Clawback. See 10/15/14 Email From Dentons (Leinbach

Decl., Ex. 24).

For each of these reasons, the November Document is not “integrated” with the

Divorce Stipulation. For this reason too, the November Document fails for lack of consideration.

IV. SUMMARY JUDGMENT SHOULD BE GRANTED IN ORLY’S FAVOR
BECAUSE THE NOVEMBER DOCUMENT IS NOT ENFORCEABLE
DUE TO A MUTUAL MATERIAL MISTAKE OF FACT

A “mutual mistake of fact” is “a mistake that is shared and relied on by both
parties to a contract.” BLACK’s LAW DICTIONARY 814 (7" Ed. 2000). A contract based upon a
material mutual mistake of fact is subject to rescission. Rodriguez v. Mower, 56 A.D.3d 857,
858 (3d Dept. 2008) (granting summary judgment on contract claim based on mutual mistake of
fact); United States v. Williams, 02-CR-1372 (RPP), 2014 U.S. Dist. LEXIS 97367, *16

(S.D.N.Y. July 17, 2014) (voiding plea agreement based upon mutual mistake of fact).

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In order to obtain such relief [rescission], it must be shown that the
mistake in question is mutual, substantial, material and exists at the
time the contract is entered. The effect of rescission is to declare
the contract void from its inception and to put or restore the parties
to status quo.

Rodriguez, 56 A.D.3d at 858; Williams, 2014 U.S. Dist. LEXIS 97367, at *16 (same).

Here, assuming arguendo the November Document is a valid contract (it is not,
for the many reasons discussed), the November Document is still subject to rescission because it

is based upon a mutual mistake of fact.

It is undisputed that when the Divorce Stipulation (and related Transfer
Document) were executed Dalia, Sagi and Orly “each reasonably believed that the 2004
Transfers provided for in the Stipulation of Settlement were valid and enforceable.” Orly
9/20/11 Compl. § 57; Sagi 4/25/13 Answer § 57; see also Sagi 1/16/14 Dep. Tr. at 178:12-15
(Leinbach Decl., Exs. 32, 33, 14). Under Sagi’s theory of the case, the transfer of TRI shares

from TPR to the Orly and Sagi Trusts was a material component of the November Document (as

 

well as the Sagi Promise Document) that Dalia, Sagi and Orly relied upon. Operative Complaint
{| 8-9 (Leinbach Decl., Ex. 1). Indeed, Sagi identifies Orly’s “receiving” the TRI Shares as the
supposed consideration for the November Document. Id. § 8. The Sagi Promise Document
expressly states that the promise Sagi made was based on his understanding that equal amounts
of TRI Shares would be received by Orly and Sagi’s respective trusts:

This letter confirms our understanding with respect to certain

payments that I am prepared to make to you in consideration of the

following. My sister Orly and I are benefiting by the receipt of a

total of 794.40 shares of Transf-Resources, Inc. (“TRI”), or

beneficial interests in those shares, by trusts for our benefit. In

reliance on this letter and in consideration of the trust’s receipt of
these _shares and other consideration, you are giving up valuable

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marital rights, and you desire further assurance that you will have
sufficient funds to support your lifestyle.

If you, in your sole and absolute discretion, from time to time
desire funds to support your lifestyle, you may request in writing
that I make payment to you as provided in this letter. Promptly
upon receipt of this request, I will pay to you (1) an amount equal
to all dividends, distributions, proceeds or other payments
attributable to 794.40 shares of TRI (adjusted for any splits or
similar action) that have previously been paid to Orly, me or any
trust for the benefit of either of us, less any amounts previously
paid to you pursuant to this letter, or (2) any lesser amount
indicated in your request.

Sagi Promise Document (Leinbach Decl., Ex. 1) (emphases added).

That equal receipt of TRI Shares benefiting both Sagi and Orly never happened.

Rather, the transfers were determined to be void ab initio and only Sagi benefited. TR Investors

 

LLC v. Genger, 2010 WL 2901704 (Del. Ch. July 23, 2010); Sagi 8/25/10 Answer, First
Affirmative Defense (Leinbach Decl., Exs. 39, 5). Under the principle of mutual mistake of fact,
the November Document is subject to rescission and, as a result, Sagi’s breach of contract claim

fails as a matter of law.

V. SUMMARY JUDGMENT SHOULD BE GRANTED IN ORLY’S FAVOR
BECAUSE SAGI CANNOT ENFORCE THE NOVEMBER DOCUMENT
BECAUSE HE DID NOT GIVE ORLY AN OPPORTUNITY
TO DEFEND BEFORE PAYING DALIA’S DEMAND FOR $200,000

Under New York law, an indemnitor cannot seek reimbursement from an
indemnitee unless the indemnitor first notifies the indemnitee of a potentially covered claim and
gives it an opportunity to defend. See Chase Manhattan Bank v. 264 Water St. Assocs., 222
A.D.2d 229, 231 (1st Dept. 1995) (one who “fails to notify an indemnitor about an impending

settlement proceeds at his own risk”); Perkins & Will Partnership v. Syska & Hennessy &

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Garfinkel, Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975), aff'd_on other
grounds, 41 N.Y.2d 1045 (1977). “[I]t is well established under New York law that, where an
indemnitor does not receive notice of an action settled by the indemnitee, ‘in order to recover
reimbursement [for the settlement], [the indemnitee] must establish that [it] would have been
liable and that there was no good defense to the liability.’”” Deutsche Bank Trust Co. of Ams. v.

Tri-Links Inv. Trust, 74 A.D.3d 32, 39 (1st Dept. 2010) (citation omitted).”

Here, the November Document gives Orly an express right to defend. November
Document (Leinbach Decl., Ex. 1). Yet, the record shows Sagi did not give Orly the required

opportunity to defend.

On January 22, 2014, Dalia demanded $200,000 from Sagi. Dalia Demand
(Leinbach Decl., Ex. 56). On January 23, 2014, Sagi informed Orly and her counsel of the
existence of the Sagi Promise Document, the November Document, and of Dalia’s purported
demand. 5/29/14 Sagi Decl. § 6; Harris Decl. J§ 2-3 (Leinbach Decl., Ex. 62). Sagi first
provided Orly counsel with a copy of Dalia Genger’s written demand for $200,000 on January
29, 2014. 1/29/14 Email (Leinbach Decl., Ex. 56). Eight days later on February 3, 2014, Sagi
claims he made a check payable to Dalia in the amount of $200,000, which was cashed on

February 6, 2014. Sagi Check and Statement (Leinbach Decl., Ex. 61).

Between January 23, 2014 and February 3, 2014, Sagi did not inform Orly that

Sagi was about to pay Dalia’s purported demand under the Sagi Promise Document. Orly Decl.

 

> Even if an indemnity agreement does not contain a notice provision, “the implied covenant of good faith
warrants reading into the contractual procedure a requirement that notice be given within a reasonable time so as
to afford a meaningful opportunity of participation.’ Perkins & Will Partnership v. Syska & Hennessy &
Garfinkel, Marenberg & Associates, 50 A.D.2d 226, 231 (1st Dept. 1975).

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{| 10 (Leinbach Decl., Ex. 57). Moreover, Sagi paid Dalia even though, during that same time
period, Orly counsel informed Sagi counsel that it disputed the validity and enforceability of the
Sagi Promise Document and November Document, and asked for the original documents in order
to have them examined before Sagi paid Dalia. 1/24/14 Email (Leinbach Decl., Ex. 63); Harris
Decl. ¥ 5 (Leinbach Decl., Ex. 62). Sagi’s payment to Dalia before informing Orly that he was
paying Dalia (and in disregard of Orly’s request that she be given time to examine the documents
and consider the matter) prevented Orly from challenging the enforceability of the Sagi Promise
Document, and resulted in a waiver of Sagi’s indemnification claim as a matter of law. See

Ballard v. Parkstone Energy, LLC, 664 F.Supp.2d 325, 330-31 (S.D.N.Y. 2009) (holding that

 

late notice resulted in waiver of buyer’s indemnification claims).

Moreover, Orly had at least two valid defenses to the Sagi Promise Document that
she could have raised to enforceability of the Sagi Promise Document. First, Sagi was not
required to pay Dalia under the Sagi Promise Document because that document fails for lack of
consideration for many of the same reasons as the November Document. See Argument, Points

I, UI.

Second, the Sagi Promise Document is subject to rescission based upon a mutual

mistake of fact for the same reason as the November Document. See Argument Point IV.

For each of these two reasons, Sagi is barred from seeking indemnification, as a

matter of law. See, e.g., 264 Water St. Assocs., supra; Tri-Links Inv. Trust, supra.

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Vi. SUMMARY JUDGMENT SHOULD BE GRANTED IN
ORLY’S FAVOR BECAUSE SAGI CANNOT ESTABLISH
HIS EQUITABLE CLAIM FOR PROMISSORY ESTOPPEL

“To make out a claim for promissory estoppel, a plaintiff must prove (1) a clear
and unambiguous promise, (2) reasonable and foreseeable reliance by the promisee; and (3)
unconscionable injury to the relying party as a result of the reliance.” Princeton Club of New
York, 13 Civ. 8747 (KBF), 2014 U.S. Dist. LEXIS 38560, *9 (S.D.N.Y. March 24, 2014)
(quoting Readco. Inc. v. Marine Midland Bank, 81 F.3d 295, 301 (2d Cir. 1996)); Lampros v.

Banco Do Brasil, S.A., 2013 U.S. App. LEXIS 22316, *3 (2d Cir. Nov. 4, 2013) (promissory

 

estoppel claim fails in the absence of reasonable reliance). Here, Sagi cannot establish that he

reasonably and foreseeably relied upon Orly’s alleged promise in paying Dalia.

On February 6, 2014, when Sagi paid Dalia $200,000 he was already aware that
Orly disputed the validity and enforceability of the Sagi Promise Document and November
Document. See 1/24/14 Email (Leinbach Decl., Ex. 63); Harris Decl. § 5 (Leinbach Decl.,
Ex. 62). Thus, Sagi could not have reasonably relied upon Orly’s promise at the time he paid

Dalia. Thus, Sagi’s claim for promissory estoppel fails.

Sagi’s effort to rely on an equitable claims such as promissory estoppel is
particularly inappropriate here, considering that Sagi, as President of TPR, promised to do all
that was necessary to effectuate the transfer of TRI shares to his sister. Specifically the Transfer

Document states:

In case, at any time hereinafter, any further action is necessary or
desirable to carry out the purpose of this Letter Agreement, each of
the parties hereto shall take or cause to be taken all necessary
action, including, without limitation, the execution and delivery of
such further instruments and documents which may be reasonably

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requested by any party for such purpose or otherwise to complete
or perfect the transactions contemplated hereby.

Transfer Agreement (Leinbach Decl., Ex. 31).

Instead of taking “any further action necessary to” effectuate the transfer of TRI
shares, Sagi instead executed the Side Letter Agreement agreeing to sell the Orly Trust’s TRI
shares. Side Letter Agreement (Leinbach Decl., Ex. 35). Also in contravention of his duty to
take “further” and “necessary” action, Sagi successfully argued to this Court that TPR — and not
the Orly Trust — was the owner of the Orly Trust TRI shares that that TPR — and not the Orly
Trust — should received the $10.3 million in proceeds for those shares. Under these

circumstances, Sagi is foreclosed from seeking any equitable relief:

A plaintiff need not have led a blameless life in all respects in
order to invoke equitable relief, but cannot have engaged in
underhanded behavior related to the matter in which he seeks the
relief. On the other hand, with respect to that matter, conduct that
falls short of what is criminal or tortious can transgress equitable
standards. Id. Equity affords wide discretion to the court refusing
to aid the “unclean litigant.” The court is “not bound by any
formula or restrained by any limitation that tends to trammel! the
free and just exercise of discretion.” Keystone Driller Co. v.
General Excavator Co., 290 U.S. 240, 246, 78 L. Ed. 293, 54S. Ct.
146 (1933). For example, in Fratelli Lozza (USA) Inc. v. Lozza
(USA), 789 F. Supp. 625, 636 (S.D.N.Y. 1992), the court denied
the equitable remedy of rescission to a plaintiff that was itself in
breach of the agreement on which its lawsuit rested. Acting on
similar [*5] principles, the Court of Appeals in Bandes v. Harlow
& Jones, Inc., 852 F.2d 661 (2d Cir. 1988) upheld the district
court’s determination that the former managers of an expropriated
Nicaraguan company that had enjoyed state favoritism under a
prior regime had unclean hands that barred them from laying claim
to the entire interpleaded fund owed to the company. Id. at 668.

 

Enh, Inc. v. International Diffusion SRL, 97 Civ. 3202 (LAP), 1997 U.S. Dist. LEXIS 7665, 4-5

(S.D.N.Y. May 30, 1997); see also French v. New York State Dep’t of Educ., 476 Fed. Appx.

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468, 472 (2d Cir. 2011) (granting summary judgment because of plaintiff's unclean hands), and
quoting Precision Instrument Mfg. Co. v. Automotive Maint. Machinery Co., 324 U.S. 806, 814
(1945) (the doctrine of “[un]clean hands . . . closes the doors of a court of equity to one tainted
with inequitableness or bad faith relative to the matter in which he seeks relief.”). Here, the

doors of equity should be shut tight against Sagi and Dalia’s latest scheme.

CONCLUSION

Orly Genger respectfully requests the Court (i) grant her motion for summary
judgment, dismissing the complaint with prejudice; and (ii) grant Orly such other and further

relief as the Court deems just and proper.

Dated: New York, New York
October 20, 2014

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